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                                         Certificate Number: 16339-MD-DE-029410445
                                         Bankruptcy Case Number: 17-13474


                                                       16339-MD-DE-029410445




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on June 12, 2017, at 10:34 o'clock PM EDT, Matthew
Bonkowski completed a course on personal financial management given by
internet by Second Bankruptcy Course, LLC, a provider approved pursuant to 11
U.S.C. § 111 to provide an instructional course concerning personal financial
management in the District of Maryland.




Date:   June 12, 2017                    By:      /s/Kelley Tipton


                                         Name: Kelley Tipton


                                         Title:   Certified Financial Counselor
